ILND 450 (Rev.Case:   1:15-cv-07603
              10/13) Judgment in a Civil ActionDocument #: 257 Filed: 04/06/22 Page 1 of 2 PageID #:5501


                               IN THE UNITED STATES DISTRICT COURT
                                             FOR THE
                                  NORTHERN DISTRICT OF ILLINOIS

Tyler Dahlstrand,

Plaintiff,
                                                          Case No. 15-cv-07603
v.                                                        Judge Manish Shah

FCA US LLC and Midwest Steel, Inc.,

Defendants.

                                        JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                in favor of plaintiff(s)
                and against defendant(s)
                in the amount of $       ,

                       which      includes       pre–judgment interest.
                                  does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                in favor of defendant(s)
                and against plaintiff(s)

        Defendant(s) shall recover costs from plaintiff(s).


               other: in favor of plaintiff and against defendant FCA US LLC in the amount $6,355,382.42
(92% of the jury’s verdict of $6,624,000 plus prejudgment interest of $261,302.42), and judgment in favor of
defendant FCA US LLC and against third-party defendant Midwest Steel, Inc. in the amount of $3,875,040
(58.5% of the jury’s verdict of $6,624,000), and final judgment in favor of defendant Nordstrom-Samson & Co
based on the court’s ruling of 8/3/2017. Final judgment was previously entered under Rule 54(b) in favor of
defendants Alberici Industrial and Coatings Unlimited on 2/6/2019.

This action was (check one):

     tried by a jury with Judge Manish Shah presiding, and the jury has rendered a verdict.
     tried by Judge Manish Shah without a jury and the above decision was reached.
     decided by Judge Manish Shah on a motion.
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Date: 4/6/2022                                       Thomas G. Bruton, Clerk of Court

                                                     /Susan McClintic , Deputy Clerk
